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                              UNITED STATES DISTRICT COURT
                                                                                      JS-6
                             CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. 2:21-cv-00024-AFM                                              Date: October 1, 2021
Title      Henry Gordon v. FCA US LLC


Present: The Honorable:      ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                            N/A
                  Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                      N/A                                                  N/A

Proceedings (In Chambers):

        Pursuant to the Joint Stipulation for Dismissal (ECF No. 18), this action is dismissed with
prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), with each party bearing its own attorneys’ fees
and costs.

        IT IS SO ORDERED.




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                                                                   Initials of Preparer           ib




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